Case 1:20-cv-00739-JGK Document 19 Filed 10/21/20 Page 1of1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

FEDERICO MORA, 20 Civ. 739 (JGK)

Plaintiff, ORDER

 

- against ~-

BB MANAGEMENT OF NEW YORK CORP. et
al.,

Defendants.

 

JOHN G. KOELTL, District Judge:

The parties are directed to file a status report by October
30, 2020.
SO ORDERED.
Dated: New York, New York

October 21, 2820 ao
Sa) klk

John G, Koeiti
United States District Judge

 

 

 

 

 

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